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                                      UNITED STATES DISTRICT COURT
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                                     CENTRAL DISTRICT OF CALIFORNIA
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  10   KEITH D. CAMPBELL,                                 Case No. LACV 19-7636-MWF (LAL)

  11                                     Petitioner,      ORDER ACCEPTING REPORT AND
                                                          RECOMMENDATION OF UNITED
  12                            v.                        STATES MAGISTRATE JUDGE
  13   WILLIAM SULLIVAN,

  14                                       Respondent.

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  17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the Magistrate Judge’s
  18   Report and Recommendation, Petitioner’s Objections and the remaining record, and has made a
  19   de novo determination.
  20          Petitioner’s Objections lack merit for the reasons stated in the Report and
  21   Recommendation.
  22          Accordingly, IT IS ORDERED THAT:
  23          1.     The Report and Recommendation is approved and accepted;
  24          2.     Judgment be entered denying the Petition and dismissing this action with
  25                 prejudice; and
  26   ///
  27   ///
  28   ///
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   1         3.    The Clerk serve copies of this Order on the parties.
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       DATED: April 27, 2021                     ________________________________________
   3                                             MICHAEL W. FITZGERALD
   4                                             UNITED STATES DISTRICT JUDGE

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